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Name and address:

JAMES Y. PAK (SBN 304563)
james.pak@skadden.com

SKADDEN, ARPS, SLATE, MEAGHER & FLOM LLP
525 University Avenue, Suite 1400

Palo Alto, CA 94301

Telephone: (650) 470-4500

Facsimile: (650) 470-4570

 

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

 

 

 

 

CRYTEK GMBH, CASE NUMBER:
2:17-cv-08937-DMG-FFM
V PLAINTIFE(S)
SPACE INDUSTRIES CORP., SUBSTITUTION OR WITHDRAWAL
DEFENDANT(S) OF COUNSEL
INSTRUCTIONS

Generally, an attorney may withdraw from representing a party in a case without the Court's permission if another
member of the attorney's firm or agency will continue to represent that party and the withdrawing attorney is not the
only member in good standing of the Bar of this Court representing that party. In that circumstance, the withdrawing
attorney should complete and file a “Notice of Appearance or Withdrawal of Counsel” (Form G-123), instead of this
“Request for Approval of Substitution or Withdrawal of Counsel” (Form G-01).

Notably, however, Court permission for withdrawal or substitution is required if no member of the withdrawing
attorney's firm or agency will remain as counsel of record. In such circumstances, the attorney(s) seeking to withdraw
should complete and file this "Request for Approval of Substitution or Withdrawal of Counsel" (Form G-01), and submit
a proposed "Order on Request for Approval of Substitution or Withdrawal of Counsel" (Form G-01 Order).

If the circumstances surrounding an attorney's withdrawal or request to substitute other counsel are not covered by this
Form G-01, the attorney may instead file a regularly noticed motion supported by a more detailed memorandum of
points and authorities.

SECTION I - WITHDRAWING ATTORNEY

 

Please complete the following information for the attorney seeking to withdraw (provide the information as it currently
appears on the docket; if the attorney appeared pro hac vice, enter "PHV" in the field for "CA Bar Number"):

Name: James Y. Pak CA Bar Number: 304563

 

Firm or agency: Skadden, Arps, Slate, Meagher & Flom LLP

 

Address: 525 University Avenue, Suite 1400, Palo Alto, California 94301

 

Telephone Number: (650) 470-4500 Fax Number: (650) 470-4570

 

 

E-mail: james.pak@skadden.com

 

Counsel of record for the following party or parties: Crytek GmbH, Plaintiff

 

 

 

Other members of the same firm or agency also seeking to withdraw: Kevin J. Minnick (SBN 269620),

 

P. Anthony Sammi (admitted pro hac vice), and Kurt Wm. Hemr (admitted pro hac vice)

 

 

 

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SECTION II - NEW REPRESENTATION The attorney who will continue to represent Crytek GmbH noticed
his appearance on May 29, 2019. He is identified in the fields below.

No new counsel is necessary. The party or parties represented by the attorney(s) seeking to withdraw will continue
to be represented by another attorney/firm who has already entered an appearance as counsel of record for that
party or parties in this case, and who is a member in good standing of the Bar of this Court.

[_] The party or parties represented by the attorney(s) seeking to withdraw have not retained new counsel and wish to
proceed pro se, as self-represented litigants.

[_] The party or parties represented by the attorney(s) seeking to withdraw have retained the following new counsel,
who is a member in good standing of the Bar of this Court:

Name: Ben M. Davidson CA Bar Number: 181464

 

Firm or agency: Davidson Law Group, A Law Corporation

 

Address: 4500 Park Granada Blvd., Suite 202, Calabasas, CA 91302

 

Telephone Number: (818) 918-4622 Fax Number: (310) 473-2941

 

 

E-mail: ben@dlgla.com

 

SECTION IIT - SIGNATURES

Withdrawing Attorney
Iam currently counsel of record in this case, and am identified above in Section I as the "Withdrawing Attorney." I have

given notice as required by Local Rule 83-2.3. I hereby request that I and any other attorney(s) listed in Section I be
allowed to withdraw from this case.

Date; 95/29/2019 Signature: /s/ James Y. Pak

 

 

Name: James Y. Pak

 

New Attorney (if applicable)

I have been retained to appear as counsel of record in this case, and my name and contact information are given above in
Section I]. Iam a member in good standing of the Bar of this Court.

Date: Signature:

 

 

Name:

 

Party Represented by Withdrawing Attorney
Iam currently represented by, or am an authorized representative of a party currently represented by, the Withdrawing
Attorney listed above. I consent to the withdrawal of my current counsel, and to (check if applicable):

[x] substitution of counsel as specified above.

[_] representing myself pro se in this case.

Date: June hy Q0 4? Signature: /
ee

Name: Aveys York

Title: Munacy \ no director

  

 

 

 

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